
357 S.W.3d 611 (2012)
In the Interest of J.M.B. and B.A.B., minors,
Juvenile Officer of the City of St. Louis, Missouri, Petitioner/Respondent,
v.
K.P. and L.B., Respondents/Appellants.
Nos. ED 96959, ED 96960.
Missouri Court of Appeals, Eastern District, Division Two.
January 31, 2012.
Michael L. Walton, St. Louis, MO, Alice A. O'Keefe, Clayton, MO, for appellant.
Loretta L. Wolford, St. Louis, MO, for respondent.
Jennifer C. Hoffman, Voices for Children, St. Louis, MO, Guardian Ad Litem.
Before KATHIANNE KNAUP CRANE, P.J., KENNETH M. ROMINES, J., and ROBERT M. CLAYTON III, J.

ORDER
PER CURIAM.
In this consolidated appeal, mother and father separately appeal from the judgments of the trial court terminating their parental rights to their minor children pursuant to section 211.447 RSMo (Cum. Supp.2007). The judgment is supported by substantial evidence and is not against the weight of the evidence. No error of law appears. Murphy v. Carron, 536 S.W.2d 30, 32 (Mo. banc 1976).
An opinion reciting the detailed facts and restating the principles of law would have no precedential value. The parties have been furnished with a memorandum opinion for their information only, setting forth the facts and reasons for this order.
The judgment is affirmed in accordance with Rule 84.16(b).
